                         UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

Clifford F. Tuttle, Jr, et al.

v.                                                 Case Number: 4:21−cv−00270

City Of Houston, et al.




                                 NOTICE OF HEARING


TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN
SCHEDULED AS SET FORTH BELOW.
Status Conference set for 10/29/2024 at 10:00 AM before Judge Alfred H Bennett.


PLACE
Courtroom 9A
Houston Division
515 Rusk Avenue
Houston, Texas 77002
Date: October 25, 2024

                                                            Nathan Ochsner, Clerk, Clerk
                                                       s/ 4 LisaREdwards, Deputy Clerk
